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                                                                                           FILED
                                                                               United States Court of Appeals
                            UNITED STATES COURT OF APPEALS                             Tenth Circuit

                                   FOR THE TENTH CIRCUIT                            November 12, 2015
                               _________________________________
                                                                                    Elisabeth A. Shumaker
                                                                                        Clerk of Court
   HEATHER CARTER,

            Plaintiff - Appellant,

   v.                                                              No. 15-1399
                                                      (D.C. No. 1:12-CV-01381-WYD-KMT)
   DAVID C. LOUCKS, M.D.,                                           (D. Colo.)

            Defendant - Appellee.
                            _________________________________

                                            ORDER
                               _________________________________

            This matter is before the court on the joint motion of the parties to dismiss this

   appeal. The motion is granted. See 10th Cir. R. 27.3(A)(9) and Fed. R. App. P. Rule

   42(b).

            A copy of this order shall stand as and for the mandate of the court.


                                                   Entered for the Court



                                                   ELISABETH A. SHUMAKER, Clerk
